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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION

 STATE OF TEXAS; STATE OF
 LOUISIANA,

                 Plaintiffs,

                                                         Case No. 6:21-cv-16
 v.

 UNITED STATES OF AMERICA, et al.,

                 Defendants.

                 PLAINTIFFS’ POST-TRIAL BRIEF IN RESPONSE
      Texas and Louisiana believe that their initial post-trial brief adequately [p]rebuts

most of the arguments set forth by Defendants in their brief. However, they will

address a few discrete issues.

I.    The categorical approach is irrelevant to this case.
      In both their discussion of final agency action and the reconciliation of Town of

Castle Rock v. Gonzales, 545 U.S. 748 (2005), and Demore v. Kim, 538 U.S. 510 (2003),

Defendants raise an issue they first raised at trial. ECF 223 at 4–5, 12–13. They

argue that the “the categorical approach for the application of criminal statutes in

the federal context” means that “the question of whether a noncitizen is potentially

covered by § 1226(c) generally cannot be determined by the fact of conviction or a

database search alone.” Id. at 4–5.

      Two things sink this argument. First, as Defendants acknowledge, the fact of

conviction or a database search alone can, in fact, determine whether some aliens are

covered by Section 1226(c). Second, the cases Defendants rely on            involve final

determinations of removal based on state-court convictions. Id. (citing Moncrieffe v.
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Holder, 569 U.S. 184, 187 (2013) and Alejos-Perez v. Garland, 991 F.3d 642, 646 (5th

Cir. 2021)). But this case relates not to final determinations, but to detainers—the

initial determinations to “take into custody” or “detain” criminal aliens “pending a

decision on whether the alien is to be removed from the United States.” 8 U.S.C.

§ 1226(a) (emphasis added).

   Detainers are issued not based on legal certainty that a criminal alien’s conviction

falls within a mandatory detention category, but on “probable cause” to believe an

alien is removable on those grounds. See U.S. Immigration & Customs Enforcement,

Issuance of Immigration Detainers by ICE Immigration Officers 2 (Apr. 2, 2017),

available at https://www.ice.gov/sites/default/files/documents/Document/2017/10074-
2.pdf. “According to the regulations and the commentary accompanying them, an

authorized ICE agent may detain an alien if there is ‘reason to believe that this

person was convicted of a crime covered by the statute.’” Diop v. ICE/Homeland Sec.,

656 F.3d 221, 230 (3d Cir. 2011) (citing 63 Fed. Reg. 27444; 8 C.F.R. § 236.1; In re

Joseph I, 22 I. & N. Dec. 660, 668 (B.I.A.1999)). Immigration judges then have the

authority to review the ICE agent’s initial determination that a person is subject to

detention at a Joseph hearing. See In re Joseph II, 22 I. & N. Dec. 799, 800

(B.I.A.1999); see also Demore, 538 U.S. at 514 n. 3, (Joseph hearing gives an alien the

opportunity to avoid mandatory detention by establishing that he is not an alien, was

not convicted of a crime requiring mandatory detention, or is otherwise not subject to

mandatory detention). An alien who wishes to avoid the reach of Section 1226(c) must

show that ICE is “substantially unlikely to establish … the charge or charges that

would otherwise subject the alien to mandatory detention.” Joseph II, 22 I. & N. Dec.

at 806.

   ICE staff are not required to use the categorical approach when determining

whether criminal aliens are within a mandatory detention category. They need only

“probable cause” or “reason to believe” that the state-court conviction falls within


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such a category—certainty is not required. “If the statute required certitude that an

alien was deportable before that alien could be detained, then no alien could ever be

detained because the question of removability cannot be answered until after

proceedings in the immigration courts are resolved.” Diop, 656 F.3d at 230; id. at 231

(upholding “pre-removal detention because ‘there is reason to believe’—even if we do

not know for sure—that the 2005 conviction was for a crime involving moral

turpitude.”). See also Ojo v. Warden Elizabeth Detn. Ctr., 808 F. App’x 61, 64 (3d Cir.

2020) (“[T]he Government had ‘reason to believe’ that Ojo was convicted of a crime

that subjected him to § 1226(c)(1)(B) mandatory detention pending removal

proceedings. Whether his conviction constitutes an aggravated felony ‘as a definitive

legal matter’ is irrelevant for purposes of the pre-removal mandatory detention

statute.”) (citing Diop, 656 F.3d at 230)); In re Joseph I, 22 I. & N. Dec. at 668 (“in the

bond and custody context, being ‘subject to’ the applicable detention statute is not

tied to a decision by an Immigration Judge on the merits as to whether or not the

criminal alien is in fact deportable”).
   The Supreme Court has explained why ICE officers are not required to await a

conclusive determination on removability before detaining an alien:

          Immigration officials must also determine on a daily basis
          whether there are grounds for removing any of the aliens who are
          already present inside the country. The vast majority of these
          determinations are quickly made, but in some cases deciding
          whether an alien should be admitted or removed is not as easy.
          As a result, Congress has authorized immigration officials to
          detain some classes of aliens during the course of certain
          immigration proceedings. Detention during those proceedings
          gives immigration officials time to determine an alien’s status
          without running the risk of the alien’s either absconding or
          engaging in criminal activity before a final decision can be made.

Jennings v. Rodriguez, 138 S. Ct. 830, 836 (2018).



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II.   The Supreme Court has agreed that these statutes are mandatory.

      A. The Supreme Court has directly confronted these statutes.
      Contrary to Defendants’ argument that the Supreme Court’s seminal cases in this

area did not address DHS’s duty to arrest certain aliens, ECF 223 at 10, Nielsen v.

Preap held that criminal aliens who have committed the criminal offenses covered by

Section 1226(c)(1) “must be arrested ‘when [they are] released’ from custody on
criminal charge.” 139 S. Ct. 954, 959 (2019) (emphasis added). See also id. at 960

(“Congress mandated that aliens who were thought to pose a heightened risk be

arrested and detained without a chance to apply for release on bond or parole.”)

(emphases added). And the Court reiterated its point: Section 1226(c)(1)’s job “is to

subtract some of [Defendants’] discretion when it comes to the arrest and release of

criminal aliens. Thus, subsection (c)(1) limits subsection (a)’s first sentence by

curbing the discretion to arrest: The Secretary must arrest those aliens guilty of a

predicate offense.” Id. at 966 (emphasis added).

      The States have thoroughly addressed why the Defendants are wrong to construe

Town of Castle Rock v. Gonzales, 545 U.S. 748, 757 (2005), as a get-out-of-mandate-

free card. See ECF 225 at 6–13. At base, the Defendants cannot be right that Castle

Rock allows them to interpret “shall” as “may” for a simple reason: Castle Rock was

more than a decade old when the Supreme Court in Jennings v. Rodriguez interpreted

“shall” in 8 U.S.C. § 1225(b) to “unequivocally mandate that aliens falling within [its]

scope” be detained. 138 S. Ct. 830, 844 (2018) (emphasis added). Indeed, the Court

found, that “requirement of detention precludes a court from finding ambiguity[.]” Id.

(emphasis added). What’s more, the Court found that Section 1226(c)—one of the laws

at issue here—“is even clearer.” Id at 846. That is due to the distinction in Section

1226 between grants of discretion and impositions of mandates: While “Section

1226(a) creates a default rule for [certain] aliens by permitting—but not requiring—

the Attorney General to issue warrants for their arrest and detention,” Section


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1226(c) supplants that default rule by stating “that the Attorney General ‘shall take

into custody any alien’ who falls into one of the enumerated categories involving

criminal offenses and terrorist activities.” Id. (emphasis added). Indeed, Section

1226(c) “obligates the Attorney General to” take those aliens into custody. Id. at 849

(emphasis added).

    Defendants ignore this language from Jennings when they posit that that case

relied on the “only if” 1 language—rather than “shall” 2—for a mandate only to refrain

from releasing criminal aliens already detained. ECF 223 at 15. They are wrong to

do so. As the Court itself has noted, “it would be very strange for Congress to forbid

the release of aliens who need not be arrested in the first place,” Preap, 139 S. Ct. at

970, which is what Defendants argue Section 1226(c) does. And Jennings only relied

on the “only if” language to “reinforce[]” its “earlier “conclusion” that the use of “shall”

created a mandatory duty. Id. at 846.

    Finally, Defendants attempt to twist Preap into supporting their argument that

their detention obligations are not judicially enforceable. See ECF 223 at 16–17. To

the contrary: Preap recognized that Section 1226(c)’s “when … released” language

means exactly what it says; “it clarifies when the duty to arrest is triggered: upon

release from criminal custody.” 139 S. Ct. at 969 (emphasis added). Preap’s concession

that the statute allows the federal government to effect an arrest later if it doesn’t




1   The Attorney General may release aliens in mandatory detention categories “only if the
    Attorney General decides ... that release of the alien from custody is necessary” for
    witness-protection purposes and “the alien satisfies the Attorney General that the alien
    will not pose a danger to the safety of other persons or of property and is likely to appear
    for any scheduled proceeding.” 8 U.S.C. § 1226(c)(2) (emphasis added).
2   The “Attorney General shall take into custody any alien” who falls into one of several
    enumerated categories involving criminal offenses and terrorist activities. 8 U.S.C. §
    1226(c)(1) (emphasis added).


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satisfy its arrest obligation immediately, id. at 965, doesn’t mean that the obligation

doesn’t exist.

   Preap rejected an attempt to limit mandatory detention where DHS had failed to

immediately fulfill its duty to take into custody of criminal aliens upon their release

from state custody. It relied on the principle that “if a statute does not specify a

consequence for noncompliance with statutory timing provisions, the federal courts

will not in the ordinary course impose their own coercive sanction.” Id. at 967 (citation

omitted). The Defendants’ attempt to twist Preap’s better-late-than-never approach

into an excuse from their mandate to arrest and detain does exactly what the

Supreme Court rejected in that case— “confuses what the Secretary is obligated to

do with the consequences that follow if the Secretary fails (for whatever reason) to

fulfill that obligation.” Id. at 969.

   B. The Supreme Court’s decisions should not be disregarded.
   Defendants assert that the Supreme Court could not have held that Congress

mandated that they arrest and detain certain aliens because it “did not confront the

breadth of such an inferred mandate, or how to reconcile such a mandate with

Congress’s limited appropriations.” ECF 223 at 13–14. But the Court knew when it

decided Preap and its other cases that ICE’s budget is not infinite. Defendants’

contention that Preap and the other Supreme Court opinions in this field should not
be taken at face value, ECF 223 at 10–11, discounts the Supreme Court’s grasp of

common sense. Moreover, even if Defendants’ discounting right, they would be wrong:

in the Fifth Circuit, Supreme Court dicta is binding. See Peake v. Ayobami (In re

Ayobami), 879 F.3d 152, 154 n.3 (5th Cir. 2018).

   At any rate, the States have never argued that Defendants must do the impossible,

only that they follow Congress’s commands in good faith. See, e.g., ECF 225 at 27–30.




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   The undisputed evidence is that the Defendants are not doing so. They do not

contest that they have the ability to increase detention capacity through

reprogramming and transferring funds. See ECF 225 at 21–22. And news reports

post-dating the trial indicate that their behavior is in fact worse than that—that they

are reducing, rather than expanding, their detention capacity. For one, ICE has

canceled contracts with detention centers. Pricilla Alvarez, Biden administration to

close two immigration detention centers that came under scrutiny, CNN (May 20,

2021), https://perma.cc/DW3T-5GGR. For two, the Biden Administration has asked

Congress to decrease ICE’s funding for detention from 34,000 to 25,000 beds. Eileen

Sullivan, Biden to Ask Congress for 9,000 Fewer Immigration Detention Beds, N.Y.

Times (Mar. 25, 2022), available at https://web.archive.org/web/20220326162537/

https://www.nytimes.com/2022/03/25/us/politics/biden-immigration-detention-

beds.html. Their arguments bemoaning a lack of detention capacity should be

understood in this context.

   C. A vacated Fifth Circuit opinion does not trump these holdings—
   especially when the Fifth Circuit has repudiated it.
   Defendants have quite a different view of the reasoning of the Fifth Circuit

motions panel’s opinion that partially stayed this Court’s preliminary injunction

against a previous version of the prioritization guidance. ECF 223 at 11 n.2. But that

partial stay was vacated by the full Fifth Circuit. See Texas v. United States, 14 F.4th

332 (5th Cir. 2021), vacated by 24 F.4th 407 (5th Cir. Nov. 30, 2021) (en banc) (mem.)

When a court decision is vacated, its “ruling and guidance” are “erased” and of no

precedential value. United States v. Windsor, 570 U.S. 744, 761 (2013); see also United

States ex rel. Marcy v. Rowan Companies, Inc., 520 F.3d 384, 389 (5th Cir. 2008)

(noting that the “panel opinion upon which Marcy relies was automatically vacated

when it was reheard en banc,” so the “panel opinion is not precedent”).




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   Not only is the motions panel’s reasoning not binding—subsequent Fifth Circuit

precedent explicitly disavowed the reasoning of the motions panel:

           Our cases [] apply Heckler, if at all, to one-off agency enforcement
           decisions rather than to agency rulemakings. … Apparently, the
           lone exception in this centuries-old line of cases was the now-
           vacated Texas v. United States (Interim Enforcement), 14 F.4th
           332 (5th Cir. 2021)…. There, a combination of memos from DHS
           and its subagency Immigration and Customs Enforcement
           (“ICE”) had established new “interim enforcement priorities.” Id.
           at 334. Those memos effectively created a class-based priority
           scheme governing agency decisions to arrest, detain, and remove
           aliens. See id. at 334–35. After the district court enjoined those
           memos’ operation, a panel of our court granted the Government a
           partial stay pending appeal. Ibid. The panel, among other
           holdings, characterized the relevant part of the memos as mere
           nonenforcement and therefore held that part nonreviewable
           under Heckler. See id. at 336–40. It did so even though the memos
           in question were undisputedly rules.… And it did so without any
           discussion of that fact or any recognition of its significance.
Texas v. Biden (MPP), 20 F.4th 928, 984–85 (2021).

                                           ⁂

   In the end, the Defendants invite the Court to both (1) ignore binding Supreme

Court language holding that they have obligations, not discretion, and (2) adopt the

reasoning of a vacated opinion that was criticized by name by the Fifth Circuit. The

Court should decline.

III. The
       challenged guidance is final agency action because it binds the
   agency.
   The States have set forth in detail the mandatory language in both Defendants’

memoranda and their procedures and training materials—including language that

staff “must,” “should not,” “will,” are “require[d],” and “need” to make decisions in a




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particular way—that suffices to make the Defendants’ policy final agency action. 3 See

ECF 225 at 1–4. In addition, an agency action can be binding “if it is applied by the

agency in a way that indicates it is binding.” Texas v. United States (DAPA), 809 F.3d

134, 171 (5th Cir. 2015).

    The evidence here—a dramatic drop in immigration enforcement—demonstrates

that the Defendants believe themselves to be bound. In December 2021, ICE detained

an average of only 4,296 aliens per day with criminal convictions or pending criminal

charges resulting from interior enforcement. FY2022 ICE Detention Statistics,

available at https://perma.cc/D6ST-RYSQ (Detention FY22 tab, rows 73 and 74).

Compare that to December 2019, when ICE averaged 16,388 detentions per day or

December 2020—in the midst of a global pandemic that strained agency resources—

when     the    daily   rate    was    10,336.     FY2020     ICE     Detention     Statistics,

https://perma.cc/636D-CXMS (Detention EOFY2020 tab, rows 56 and 57); FY2021

ICE Detention Statistics, available at https://perma.cc/3M3X-DZ7D (Detention FY21

YTD tab, rows 73 and 74). The current guidance and its functionally equivalent

precursors have led to the lowest number of removals in three decades: In FY2021,

removals fell 70 percent compared to FY2020. James Remsen, Deportations fell to 26-



3   Even the case that Defendants cite (at 4) for the proposition that “should” is “precatory,
    not mandatory,” Assn. of Flight Attendants-CWA, AFL-CIO v. Huerta, 785 F.3d 710, 718
    (D.C. Cir. 2015), contrasts “should” with “must,” finding the latter word mandatory. Id.
    The challenged agency action uses that term, Ex. X. at 4 (“Our personnel must evaluate
    the individual and the totality of the facts and circumstances and exercise their judgment
    accordingly.”) (emphasis added), as does ICE’s training for its staff, Ex. Y at 43 (“[E]very
    case must be addressed individually based on the totality of its specific facts and
    circumstances.”) (emphasis added). Regardless, the Fifth Circuit has approvingly cited a
    case holding that “[t]he language used to express ‘the EPA’s position’— ‘should not be
    permitted’—is the type of language we have viewed as binding because it ‘speaks in
    mandatory terms.’” Iowa League of Cities v. EPA, 711 F.3d 844, 864 (8th Cir. 2013)
    (emphasis added); see Texas v. EEOC, 933 F.3d 433, 442 n.17 (5th Cir. 2019) (citing Iowa
    League of Cities for this proposition).


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year low last year, ICE report reveals, N.Y. Post (Mar. 11, 2022), available at

https://perma.cc/SQW4-W6XM.

   Defendants repeat their invocation of an analysis of supervisory approval of

enforcement requests as evidence that agency staff retained discretion. ECF 223 at

6–7. The States already addressed this point at trial, and Defendants have done

nothing to contradict them: As the administrative record itself states, “While these

high approval rates may suggest a permissive approach to ‘other priority’ cases, it

appears that many offices have a practice of pre-vetting cases so that officers and

their supervisors reach some level of consensus on a case’s viability before the officer

submits it for approval.” AR00110. This is consistent with the testimony of former

ICE Director Tom Homan. Tr. 84–86. The officers “do not, that is, even bother asking

when they know [a request is] going to be denied.” Tr. 2-135.

   Defendants also argue that the challenged agency action does not prevent “a fact

of conviction or a database search from being the determinative factor in a decision

to take an enforcement action—officers should just consider the complete set of

reasonably available information in making that decision.” ECF 223 at 4. But the

problem with the challenged agency action is not that it makes enforcement literally

impossible; instead, the problem is that it allows officials to take actions that

Congress made mandatory only if they first determine that extra-statutory factors

are satisfied. While officers might consider those factors and still take action, the

agency action at issue here unlawfully limits their discretion to take actions—

arresting an alien subject to § 1226(c), or removing an alien subject to § 1231(a)—

that Congress has already stated are always permissible.

   Defendants attempt to distinguish Texas v. EEOC, 933 F.3d 433 (5th Cir. 2019)

by pointing to several features of the EEOC guidance challenged there that do not

apply here. ECF 223 at 3. But none of those distinctions were independently

necessary to the finding of final agency action there. See, e.g., EEOC, 933 F.3d at 443


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(“And … the Guidance leaves no room for EEOC staff not to issue referrals to the

Attorney general wen an employer uses a categorical felon-hiring ban.”) (first

emphasis added); id. (“[t]he Guidance, moreover … [acts as] a safe harbor.”) (emphasis

added). The dispositive fact was that “[t]he Guidance indicates that it binds EEOC

staff to an analytical method in conducting Title VII investigations.” Id. 4 And the

challenged agency action here does the same thing.

      Finally, Defendants argue that increasing the number of aliens present in the

States who would be eligible for government benefits is not sufficient to impose rights

or obligations. ECF 223 at 7–8. But Fifth Circuit precedent rejects this view. See ECF

225 at 4–5.

IV.   The challenged agency action violates DHS’s agreement with Louisiana.
      Defendants make no attempt to argue that the challenged guidance does not

violate the terms of the agreement with Louisiana, instead arguing that (1) they

terminated the agreement pursuant to its terms, and (2) the Agreement itself is

illegitimate. They are wrong on both counts.

      A. Defendants failed to properly terminate the Agreement.
      The Agreement states that “[a]ll notices required hereunder shall be given by

certified United States mail, postage prepaid return receipt requested, and addressed
to the relative parties at their addresses set forth below,” which, for Louisiana, is

specified as “Louisiana Department of Justice, Deputy Director of the Louisiana

Bureau of Investigation, 1885 N. 3rd Street, Baton Rouge, Louisiana 70802.” Pls. Tr.

Ex. K at IV.


4     The Fifth Circuit shares this view of the analysis in EEOC. See Texas v. Biden (MPP), 20
      F.4th 928, 949 (5th Cir. 2021) (“[the EEOC] court based its holding (“that the Guidance
      binds EEOC”) largely on the fact that the “Guidance” in question, despite its name, bound
      EEOC staff. See id. at 443. The court also discussed the Guidance’s de facto creation of
      safe harbors for private parties. Ibid.”) (emphasis added).


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   The Defendants, despite asserting that they sent a letter terminating the

Agreement, see ECF 223 at 22–23, have no evidence (1) that it was sent via certified

mail or (2) of a return receipt. Their back-up argument, that they notified Louisiana

when they made the letter an exhibit to their opposition to the preliminary injunction

motion, see ECF 223 at 23, also fails. Attaching a document to a court pleading does

not comply with the sole method for such notice specified in the parties’ contract. The

Agreement therefore remains in effect.

   B. DHS legitimately entered into the Agreement.
   Defendants maintain that DHS lacked statutory authority to enter into the

Agreement. ECF 223 at 26–27. But this is not so: Congress has granted DHS broad

authority to implement cooperative policies with the States. Congress specifically

authorized DHS to “develop a process for receiving meaningful input from State and

local government to assist the development of the national strategy for combating

terrorism and other homeland security activities.” 6 U.S.C. § 361(b)(4). The notice-

and-comment process for receiving input created in the Agreement provides a

legitimate mechanism for receiving that meaningful input. It should be no surprise

that DHS’s chosen process for receiving “meaningful input” mirrors the notice-and-

comment process that Congress created for members of the public to provide

meaningful input in analogous situations. See 5 U.S.C. § 553.

   More generally, the Secretary of DHS is empowered to “perform such other acts

as he deems necessary for carrying out his authority….” 8 U.S.C. § 1103(a)(3). The

Defendants do not address why the Agreement wouldn’t qualify.

   Nor does the Agreement DHS contracted away DHS’s sovereign authority to

Louisiana. See ECF 223 at 25–26. The federal government maintains its authority

over immigration policy. The Agreement does not grant Louisiana a veto over federal

immigration policy or substantively limit Defendants’ authority. It is analogous to



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the APA’s notice-and-comment requirements, which no one contends are an

abdication of federal sovereignty to States, interest groups, and individuals merely

because those procedures delay agency action.

   Defendants also cite U.S. Telecom Assn. v. FCC as prohibiting agency

“subdelegations to outside parties.” ECF 223 at 27 (citing 359 F.3d 554 (D.C. Cir.

2004)). But the Agreement at issue here does not subdelegate agency authority.

Cooperative arrangements are not illicit subdelegations of agency authority, as the

D.C. Circuit recognized in acknowledging “three specific types of legitimate outside

party input into agency decision-making processes: (1) establishing a reasonable

condition for granting federal approval; (2) fact gathering; and (3) advice giving.” U.S.

Telecom Assn., 359 F.3d at 566. “[A] federal agency may turn to an outside entity for

advice and policy recommendations, provided the agency makes the final decisions

itself.” Id. at 568. Under the Agreement, DHS continues to “make[] the final decisions

itself.” It simply follows a process for receiving “advice and policy recommendations”

from Louisiana.

   Agencies frequently adopt procedural rules not required by statute, and these are

enforced by the federal judiciary. See, e.g., Morton v. Ruiz, 415 U.S. 199, 235 (1974)

(overturning agency action in part because it failed to comply with an informal rule

detailing internal procedures that agency was to follow); Singh v. U.S. Dept. of

Justice, 461 F.3d 290, 295 (2d Cir. 2006) (INS regulations that permitted agency to

consider factors relevant to extreme hardship that statute did not make relevant);

Oglala Sioux Tribe of Indians v. Andrus, 603 F.2d 707, 717 (8th Cir. 1979) (Bureau

of Indian Affairs personnel decision reversed when agency failed to consult with tribe

before transferring federal agent from one area office to another in violation of agency

commitment to engage in such consultation). Agencies can legitimately bind

themselves to more rigorous procedures, including by agreeing to consult with




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relevant stakeholders. And when an agency fails to live up to its commitments,

federal courts enforce them.

   The manner that DHS entered into the Agreement was also consistent with the

APA. Defendants’ drive-by assertion, mentioned only in a footnote, see ECF 223 at 26

n.8, that the Agreement itself was required to be subject to notice-and-comment

rulemaking is wrong because the Agreement does not “constrain[] the agency from

making future changes to immigration policy.” It is instead a procedural rule exempt

from the requirements of notice-and-comment rulemaking.

   C. The Agreement is Valid and Enforceable in this Court.
   Defendants contradictorily claim      both (1) that Louisiana has an “adequate

remedy” in the Court of Federal Claims—a claim under the Tucker Act’s waiver of

sovereign immunity—and (2) that the Tucker Act would not allow Louisiana to file

its claim—that is limited to relief other than money damages—in the Court of Federal

Claims. ECF 223 at 24–25. Defendants are only partly right: Louisiana could not sue

in the Court of Federal Claims. As a result, it has no adequate remedy without the

APA, and nothing precludes this Court from hearing its claim.

   Under the Tucker Act, contract actions against the federal government seeking

money damages over $10,000 are within the exclusive jurisdiction of the Court of

Federal Claims. 28 U.S.C. § 1491. However, that court’s “jurisdiction over contract

claims turns on whether the Government was acting in its sovereign or proprietary

capacity when it entered into the contract or agreement at issue.” Doe v. United

States, 37 Fed. Cl. 74, 77–78 (1996). “The contract liability which is enforceable under

the Tucker Act consent to suit does not extend to every agreement, understanding, or

compact which can semantically be stated in terms of offer and acceptance or meeting

of minds.” Kania v. United States, 650 F.2d 264, 268 (Ct. Cl. 1981). “[T]he principal

class of contract case” covered by the Tucker Act is limited to “the instances where



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the sovereign steps off the throne and engages in purchase and sale of goods, lands,

and services, transactions such as private parties, individuals or corporations also

engage in among themselves.” Id. The Agreement at issue here is nothing like an

agency’s contract with a vendor of office supplies. It involves DHS receiving input on

the exercise of the federal government’s sovereign authority over immigration. This

case is not within the jurisdiction of the Court of Federal Claims.

   Sovereign immunity is not a bar here. Louisiana is not seeking money damages at

all. Nor, contrary to Defendants’ assertion, see ECF 223 at 23–24, is it seeking specific
performance to affirmatively require DHS to provide notice and follow the procedures

in the Agreement. Rather, it seeks the standard remedies for unlawful agency action,

holding unlawful and setting aside the challenged memoranda.

   The distinction between relief “ordering the cessation of the conduct complained

of” and relief “requir[ing] affirmative action by the sovereign” is the basis for the long-

standing rule that ultra vires suits against federal officers (and analogous Ex parte

Young suits against state officers) do not implicate sovereign immunity. Larson v.

Domestic & Foreign Commerce Corp., 337 U.S. 682, 691 n.11 (1949). “[I]f the federal

officer, against whom injunctive relief is sought, allegedly acted in excess of his legal

authority, sovereign immunity does not bar a suit.… [T]here is no sovereign

immunity to waive—it never attached in the first place.” Chamber of Commerce of

U.S. v. Reich, 74 F.3d 1322, 1329 (D.C. Cir. 1996).

   The remedies sought here—setting aside as null the agency actions that failed to

comply with the terms of the Agreement—are the standard remedies for unlawful

agency action. Defendants present no valid reason this Court cannot consider them.




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V.   In addition to vacatur and remand, the States are entitled to a permanent
     injunction.

     A. A permanent injunction is appropriate.

     As the States explained in their post-trial brief, as “prevailing plaintiffs,” they are

“entitled to the remedies afforded by the particular type of claim they bring, ‘including

actions for declaratory judgments or writs of prohibitory or mandatory injunction.’”

ECF 225 § 6.A (citing 5 U.S.C. § 706(2)). And while “the States have sought an

injunction” that does more than “prohibit[] the Defendants from implementing” the

policies embodied in “the September 30 Memorandum,” which vacatur alone could

conceivably prohibit, they also seek an injunction that redresses their injuries by

“requiring [the Defendants] to comply with section[s] 1226(c) and 1231(a)(2),” which

vacatur could not achieve. Id.

     The Defendants ignore this in their post-trial brief. They argue only that “a

permanent injunction is inappropriate in an APA suit when a partial or complete

vacatur is sufficient.” ECF 223 § IV.A, at p.28 (citing Monsanto Co. v. Geertson Seed

Farms, 561 U.S. 139, 165 (2010)). But here, that is not sufficient, as the Court already

implicitly found when it issued an injunction against the enforcement of the previous

version of the prioritization policy rather than simply stay or postpone its effective

date. See ECF 79 at 146 (concluding that States were “‘likely to suffer irreparable

harm’” to their “interests as parens patriae” in the absence of an injunction) (quoting

Benisek v. Lamone, 138 S. Ct. 1942, 1944 (2018)).

     B. A nationwide injunction is appropriate.
     Further, this remains a case where a nationwide injunction is appropriate, and

the Defendants’ repetition of arguments that the Court has already rejected on that

score, does not change that. The need for a uniform national immigration policy has

not changed. See ECF 79 at 152 (citing Texas DAPA, 809 F.3d at 187–88, and E. Bay

Sanctuary Covenant v. Garland, 994 F.3d 962, 987 (9th Cir. 2020)). The likelihood


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that a geographically limited injunction would be ineffective due to the ability to move

among the states has not changed. Id. (citing Texas DAPA, 809 F.3d at 187–88). Only

one thing that has changed: the Defendants now assert that because the States

identified only 14 rescinded detainers since the September 30 Memorandum went

into effect, the potential that criminal aliens might travel from other states is

speculative. ECF 223 at 29–30.

   Wrong. First, the number of rescinded detainers does not mean what the

Defendants claim; the challenged agency action here has also resulted in many

detainers not being placed at all. See Tr. 1-82 (testimony of Jason Clark). And as the

States have already explained, the sharp change in the number of rescissions is a

litigation tactic, not a policy tack. It is attributable to the Court’s preliminary

injunction and the Defendants’ attempts to paint a more appealing picture of their

behavior on what amounts to a re-do of the Court’s evaluation of them—and given

the lack of evidence to explain otherwise, especially given the Defendants’ strong

incentives to explain otherwise, that is the inference the Court should draw. Second,

it does not address what the “evidence … regarding the migration patterns of aliens

to Texas and from other states” that was introduced at trial, which the Court has

referred to as “buttress[ing]” the likelihood that a “‘geographically limited injunction

would be ineffective[.]’” ECF 79 at 155 (citing Texas DAPA, 809 F.3d at 188); see Exs.

T–W. About that evidence, the Defendants say nothing.

   C. A stay would be inappropriate.
   Finally, little needs to be said about the request for a stay beyond this: The en

banc Fifth Circuit has already decided that the Defendants’ arguments don’t merit

one. Each of the Defendants’ arguments for a stay is an argument that the Fifth

Circuit considered when the Defendants sought a stay of the Court’s preliminary

injunction. Compare ECF 223 at 31–32 (Secretary’s authority to set priorities) with



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14 F.4th at 339 (same); ECF 223 at 31–32 (restraint on discretion) with 14 F.4th at

341 (same); ECF 223 at 32 (“pendulum effect”) with 14 F.4th at 341 (same); ECF 223

at 33 (disruption & public safety) with 14 F.4th at 335 (same); ECF 223 at 33–34

(strain on resources) with 14 F.4th at 336, 341 (same). Each argument the Defendants

make for a stay, therefore, is an argument that the en banc Fifth Circuit rejected as

entitling them to a stay. Texas v. United States, 24 F.4th 407 (5th Cir. 2021). While

rulings on stays and injunctions are not ordinarily precedential, most requests for

stays do not occur after the en banc circuit court has in that same case already denied

to the same party the same type of stay sought on the same basis. The Defendants

have pressed repeat; the song should not sound different on the second play.

                                    CONCLUSION
   The States respectfully request that the Court render judgment in their favor.




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Dated: April 6, 2022          Respectfully submitted,

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                           CERTIFICATE OF SERVICE
    I certify that on April 6, 2022, this document was filed through the Court’s
CM/ECF system, which automatically serves all counsel of record.

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